Case 2:17-cv-00154-WTL-MJD Document 1 Filed 04/05/17 Page 1 of 1 PageID #: 1




                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF INDIANA
                          TERRE HAUTE DIVISION


    Cara Demoss,                                         Case No. 2:17-cv-154

                              Plaintiff,

              v.
                                                       COMPLAINT

    NCC Business Services, Inc.,

                              Defendant(s).


         Plaintiff CARA DEMOSS, by and through her attorneys, Cento Law, LLC,

  complaining of the Defendant, hereby alleges as follows:

        1. This is an action for damages brought by an individual consumer for violations

           of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq. (hereafter

           the “FDCPA”). The FDCPA prohibits debt collectors from engaging in

           abusive, deceptive, and unfair collection practices.

                              JURISDICTION AND VENUE

        2. This Court has original jurisdiction pursuant to 28 U.S.C. § 1331 and 28 U.S.C.

           § 1343. Venue is properly in this Court under 28 U.S.C. §§ 1391(b)(2) and

           (b)(3), because a substantial part of the events giving rise to the claim occurred

           in this judicial district, and Defendant is subject to this Court’s personal

           jurisdiction with respect to this action.

                                           PARTIES

        3. Plaintiff, Cara Demoss, is an adult residing in Sullivan, IN, which is within

           the district and division of this Court.
